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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                       CR 19-35-GF-BMM

              Plaintiff,

    vs.                                         FINAL ORDER OF FORFEITURE

DAVID OWEN AWBERRY,

              Defendant.


      THIS MATTER comes before the Court on the United States’ Motion for a

Final Order of Forfeiture. Having reviewed said motion, the Court finds:

      1.       The United States commenced this action pursuant to 21 U.S.C.

§§ 853(a)(1) and 881(a)(11), and Rule 32.2, Federal Rules of Criminal Procedure.

      2.       A Preliminary Order of Forfeiture was entered on September 6, 2019.

(Doc. 108).

      3.       All known interested parties were provided an opportunity to respond

and publication has been effected as required by 21 U.S.C. § 853(n)(1). (Docs.

129, 129-1).

      4.       It appears there is cause to issue a forfeiture order under 21 U.S.C.

§§ 853(a)(1) and 881(a)(11), and Rule 32.2, Federal Rules of Criminal Procedure.

      IT IS ORDERED:



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      THAT the Motion for Final Order of Forfeiture is GRANTED;

      THAT judgment of forfeiture of the following property shall enter in favor

of the United States pursuant to 21 U.S.C. §§ 853(a)(1) and 881(a)(11), and Rule

32.2, Federal Rules of Criminal Procedure, free from the claims of any other party:

       2014 Dodge Ram 1500 ST Crew Cab, VIN: 3C6RR7KT8EG331979;

       2010 Cadillac Escalade, VIN: 1GYUKCEF6AR161518;

       2015 Toyota Scion, VIN: JTKJF5C73F3093329;

       2004 Ameri Camp Trailer Coach 5th Wheel, VIN:

         5M6FE30214S001315;

       2008 Dodge Challenger, VIN: 2B3LJ74W78H289629; and

       $47,824.00 in United States currency.

      THAT the United States shall have full and legal title to the forfeited

property and may dispose of it in accordance with law.

      DATED this 15th day of October 2019.




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